                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF IOWA

TRACEY K. KUEHL, et al.,                       )
                                               )   Case No. C14-2034-LRR
               Plaintiffs,                     )
                                               )
       vs.                                     )
                                               )
PAMELA SELLNER, et al.,                        )   AFFIDAVIT OF JENNIFER CONRAD,
                                               )   D.V.M., IN SUPPORT OF PLAINTIFFS’
               Defendants.                     )   MOTION FOR SUMMARY JUDGMENT
                                               )

    AFFIDAVIT OF JENNIFER CONRAD, D.V.M., IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR SUMMARY JUDGMENT


I, Jennifer Conrad, declare that if called as a witness in this action I would competently testify of my

own personal knowledge as follows:



       1.      My name is Jennifer Conrad, I am over the age of 18, of sound mind, and have

freely given the testimony set forth in this Affidavit. I reside in Santa Monica, California, and I

am a doctor of veterinary medicine currently practicing in Los Angeles. I work with captive

wildlife in nonprofit wildlife sanctuaries and provide humane veterinary care to captive wildlife

appearing in television and movies. At present I care for approximately 30 lions and tigers,

having cared for some 200 over the course of my 21-year veterinary career; I care for

approximately 50 wolves and wolf-dogs, having cared for some 130 over the course of my

veterinary career; and I care for approximately 10 servals, having cared for some 40 over the

course of my veterinary career. Since graduating from the University of California, Davis,

School of Veterinary Medicine, I have also participated in many programs to protect and

improve the lives of wild animals, including rehabilitation efforts in Namibia, Nepal, and the




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Galapagos Islands, among other locations. I am a member of the American Veterinary Medicine

Association (AVMA), the American Association of Zoo Veterinarians (AAZV), and the

European Association of Zoo and Wildlife Veterinarians (EAZWV).

       2.      In addition to my veterinary work, I founded The Paw Project in 1999, a nonprofit

that rehabilitates big cats such as lions, tigers, cougars and jaguars maimed by declawing. As a

spokesperson advocating humane alternatives to declawing surgery, I have been interviewed on

numerous television and radio programs to educate the public about the physiological and

behavioral effects of feline declawing. I have been called to write letters in animal abuse cases

both here and abroad that require expert testimony on declawing. I have also supported

legislative efforts throughout the country to ban feline declawing, which is banned in many

industrialized countries throughout the world. In 2006, the United States Department of

Agriculture (USDA), the federal agency that oversees animals bred, exhibited or sold in

commerce, amended their regulations under the Animal Welfare Act (AWA) to prohibit

declawing or defanging of animals owned by their registrants. This change was based in part on

information provided by the Paw Project.

       3.      I have made several court appearances, both as a witness and as an expert witness

regarding the care and housing of large carnivores such as lions, tigers, cougars, and leopards

(collectively, big cats), including by USDA summons and by subpoena. I have likewise testified

before numerous bodies such as planning commissions and other entities regarding animal

husbandry issues. I have observed that big cats and other majestic endangered animals can

languish in captivity because people wrongly assume that such magnificent animals are immune

to most health issues and fail to notice signs of compromised health and welfare. In light of this




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oversight, and because it is imperative that big cats and other endangered animals are well cared

for in captivity, I am participating as an expert in this litigation.

        4.      In preparing my opinion, I have reviewed USDA inspection reports of the

defendants’ facility, photographs and videos of the animals and their enclosures, and violation

notices concerning the housing and husbandry practices for animals kept at the Cricket Hollow

Zoo in Manchester, Iowa. I likewise reviewed transcripts of the depositions of the defendants and

their veterinarian Dr. Pries, files the zoo provided relating to the husbandry and veterinary care

of their animals, and records related to the acquisition and disposition of their animals. Based on

the information I reviewed, I conclude that the tigers, lions, wolves and serval housed at this

remote Zoo are suffering from inhumane living conditions that result from owners, zookeepers

and veterinarians who lack the expertise, the experience, and the resources to care for captive

wildlife. Neither the veterinary care nor the animal husbandry is remotely adequate for these

animals. The only conclusion I can draw is that these animals are being harassed by their

conditions. For the reasons I describe below, it seems highly improbable to me that those

conditions will ever change, and I recommend immediate removal of these animals from the

Cricket Hollow Zoo.

        5.      It is abundantly clear that the Zoo’s Program of Veterinary Care is woefully

inadequate. For example, the Zoo has exhibited veterinary shortcoming in at least the following

significant ways:

            Failure to secure an attending veterinarian with adequate experience;

            Failure to provide timely information to the attending veterinarian;

            Failure to perform necropsies and to ascertain causes of death that could potentially

             be communicable;


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           Failure to adequately quarantine animals and to give these animals exams before

            exposing them to the existing population;

           Failure to feed balanced and wholesome diet to growing animals;

           Failure to monitor teeth and oral pathology;

           Failure to vaccinate for canine distemper, a preventable cause of wild felid death.

Each of these failures departs from generally accepted animal husbandry practices standard in

the captive wildlife industry.

       6.      The Cricket Hollow financial records are indicative of poor animal care. One need

look no further than their financials to realize that the Sellners are not caring adequately for their

animals. From a veterinarian’s perspective, the financials of a facility are extremely important

indicators of health of the animals. Caring for any animal, and in particular wildlife, and even

more particularly endangered species, is an extremely expensive financial undertaking. Big cats,

wolves, and servals require highly specialized care in captivity. Of great importance is regular

and proper veterinary care. Wildlife, when captive, is prone to health problems. These animals

often suffer disease or illness because their sheer awe factor as charismatic megafauna causes

many people to overlook their medical issues, which can be signaled by symptoms as subtle as

not wanting to play or no longer eating something they previously enjoyed. Common ailments

they might have like broken teeth or urinary tract infections go undiagnosed because those

undertrained in exotics care might think that these animals are immune to such problems

precisely because they are not “regular animals.” In addition, much of their care has to be

preventive of disease because these animals are masters at hiding problems until they are very

sick. By their own admission, in the last five consecutive years the Sellners have spent on

average just $668 a year—less than $700 annually—on all their zoo animals combined, a


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population of some 300 animals. (Ex. 6 at 0355 (Zoo Expense Tally (2008-2014)) (reporting

veterinary expenditures in 2010 as $899, in 2011 as $498, in 2012 as $641, in 2013 $588, and in

2014 as $714). On average, then, each animal receives roughly $2.23 a year on veterinary care.

According to Dr. Pries, the Sellners’ part-time veterinarian, his clinic charges $2.25 per minute

for professional time, and $3 per minute for surgery. (Ex. 7 at 0528–0529 (Tr. J. Pries 64–65:

18–19, 7–10)). For simplicity, putting aside the $35 he charges for a “farm call” or the $55 he

charges for an “office call,” (Ex. 7 at 0528–0529 (Tr. J. Pries 64–65:13–15, 23–25)) that means

each animal, on average in the last five years, receives just one minute of veterinary care a year.

If we were to factor in the cost of the farm or office call, and acknowledge that clients pay for all

medicines and supplies, (Ex. 7 at 0529 (Tr. J. Pries 65:13–20)), we must reach the obvious and

unavoidable conclusion that the vast majority of the animals at the Zoo are receiving zero

minutes in veterinary care in any given year. That is to say, most of the animals are getting zero

diagnostic work—no blood work, no urine work, no lab work of any kind. They are receiving no

physical exam, no tooth exam, no eye exam, no fecal exam. They may or may not be getting

medicine of any kind. These animals are much like other animals. They can have teeth problems,

infections, fly strike, parasites, both external and internal, endocrine conditions, cancers,

reproductive system problems, arthritis, pain for other reasons, corneal abrasions, high blood

pressure, GI distress and many other common conditions. If they are receiving any veterinary

care at all, it may well be from the Sellners themselves, who are clearly not licensed

veterinarians and enormously underqualified to provide that care. In my opinion, denying captive

wildlife veterinary care harasses them, creates a likelihood of injury to them, and is not a

generally accepted animal husbandry practice.




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            7.       Considering only the several endangered animals that I have been asked to

evaluate, the less than $700 per year the Sellners spend on veterinary care would not be enough

to maintain the most basic health standards for even those few animals, let alone the 285 or so

others. For example, based on my experience in California—which can likely be reduced, though

not considerably for Iowa prices—I estimate that the minimum basic preventive care for a tiger

would cost around $300 per year per cat, assuming the cat were healthy and adjusted for Iowa

prices. That $300 would include vaccinations, deworming, fly medicine, pain relief, and

antibiotics. Since the Sellners currently have five tigers, (Ex. 7 at 0424 (Tr. P. Sellner 152:20–

22)), already the cost for the minimum basic preventive care for the tigers exceeds by more than

a factor of two their average annual veterinary expenditure. That does not even contemplate a

tiger who might face a health problem, which to address would cost at least $600, possibly $800,

and would include, at a minimum, anesthesia,1 x-rays, blood work, and urine tests. The same

numbers would apply to the lions: $300 each in minimum annual preventive care and $600 to

$800 minimum each possible illness or injury event. Similar figures would apply to the wolves:

at least $250 each in minimum annual prevent care for healthy animals, accounting for the cost

of vaccines (including rabies, distemper, Parvo, and two types of Hepatitis), heartworm

prevention, flea and tick medicine, and routine other worming. For any wolf suffering an illness

or injury, the minimum direct care cost would be anywhere from $400 to $500, for bloodwork

and x-rays.2 Finally, the serval would likely cost $175 per year in minimum preventive care,

including vaccines and routine dewormings. Any problem arising in her would cost perhaps $400

to $450, including bloodwork, x-rays, and possibly though not always anesthesia. This is all to

say that even if the Sellners were devoting their entire veterinary expenditures solely to their


1
    Typically anesthesia increases the cost of veterinary care by some $200.
2
    A wolf might not need anesthesia since it is far less likely than a lion or tiger to kill his or her handlers.

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endangered animals—which is entirely improbable and would be professionally irresponsible in

any event—they would not be meeting even the minimum basic preventive care of even a small

fraction of their endangered animals. My review of the records in this matter leads me to

conclude that there are serious health problems at the Zoo requiring immediate veterinary

intervention. In my opinion, the failure to provide minimum preventive veterinary care, let alone

the failure to provide remedial or curative care, harasses them, creates a likelihood of injury to

them, is not a generally accepted animal husbandry practice, and fails to meet the minimum

humane care and treatment standards.

       8.       Looking beyond the financials, given the alarming number of endangered animals

who have been dying at the Cricket Hollow Zoo on a regular basis—whether of preventable

causes, treatable causes, or unknown causes, and disregarding the number of non-endangered

animals who may be dying at the Zoo on a regular basis—I can only conclude that the animals

are getting neither the proper preventive care nor the kind of remedial or curative care that they

require to even survive, much less thrive, at the Cricket Hollow Zoo. According to the

defendants’ own admissions, the following endangered animals have died at the Zoo in the last

ten years:


#           Individual   Species      Purported        Year of     Age at         Years of Death
                                      Cause of         Death       Death          after birth or
                                      Death                                       acquisition


1           Rajah        Tiger        Old age          ~ 2005      No data        No data available
                                                                   available


2           Sheba        Tiger        Old age          2012        No data        No data available
                                                                   available




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3          Sherkhan          Tiger         Old age            2-28-         ~ 20 years        ~ 10 years after
                                                              2014          old               acquisition


4          Raoul             Tiger         Quick              6-1-2013 Less than              Less than 10
                                           pneumonia                   one year old           months after
                                                                                              birth at Zoo


5          Casper            Tiger         Pneumonia          11-2014       ~ 10 years        ~ 4 months after
                                                                            old               acquisition


6          Luna              Tiger         E. coli            2014          ~ 11 years        Approximately 4
                                                                            old               months after
                                                                                              acquisition


7          Tootsie           Lemur         Old age            11-2009       No data           No data available
                                                                            available


8          Cheech            Lemur         Old age            ~ 2010        No data           No data available
                                                                            available


9          Gaz               Lemur         Encephalitis;      2006          Less than         No data available
                                           necropsy                         one year old
                                           done at
                                           Ames, Iowa


10         Maddy             Lemur         Encephalitis  2006               Less than         No data available
                                           (no necropsy)                    one year old


11         Kondo             Lemur         Unknown            7-2011        ~ 10 years        Less than one
                                                                            old               year after
                                                                                              acquisition

See Ex. 3 at 0272; Ex. 4 at 0311–0315, 0321–0322, 0327, 0330.3




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 Note that a lion named Kamarah also died at the Zoo in Nov. 2014, purportedly of pancreatitis. (Ex. 7 at 0427 (Tr.
P. Sellner 162–163: 9–25, 1–7)). Kamarah may have been approximately 12-years-old at the time of her death, since
her acquisition papers suggest she was 8-years-old when acquired in 2010. (Ex. 4 at 0283).

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In my opinion, these many deaths alone prove that the defendants are clearly harming, injuring,

wounding, killing, and assuredly harassing their animals. Ascribing a death to “old age” alarms

me as a veterinarian because it means that these deaths were dismissed as unimportant. There is

no such thing as dying of “old age,” there is only dying of complications of old age, such as

cancer, heart failure, or kidney failure. No death should go without investigation for the safety of

the collection and for the education of the veterinarian and the caretaker who should use the

information to prevent other deaths.

       9.      I also observe that the defendants bury their animals on the property. (Ex. 7 at

0427 (Tr. P. Sellner 161:6–16)) (admitting that she buries her deceased big cats “in the fence line

in my cornfield.”). Local or state or federal law almost surely forbids this, but in any event this

habit is entirely contrary to industry practice. A buried animal might be dug up by coyotes who

could move the carcass. The obvious problem is that an animal who died of communicable

disease can then, even after death, spread that disease back into the zoo population if the carcass

were moved by other animals.

       10.     Given the extraordinary number of animal deaths, including the several animals

who died soon after birth or acquisition, I conclude that the owners either fail to recognize the

onset of illness and injury, discovering the problem only after it has become too late, or they do

recognize the onset of illness and injury but adopt a wait-and-see posture that saves money at the

cost of the animals’ lives. In my opinion, such an approach harasses captive wildlife by creating

a likelihood of injury. USDA regulations require every exhibitor to have an attending

veterinarian who provides adequate veterinary care to the licensee’s animals. In my opinion, the

frequency of animal deaths proves the veterinary care is not adequate. Furthermore, USDA

regulations also require frequent communication between an exhibitor and her attending



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veterinarian to ensure the veterinarian receives timely and accurate information about animal

health, behavior and well-being. Veterinarians should be on site to make assessments rather than

listening to the owner’s descriptions, which may be subject to preconceived notions. Given the

wait-and-see approach, in my opinion, the defendants are not providing this information or the

opportunity for the veterinarians to intervene in a manner timely enough to save the animals’

lives.

         11.   Consider the tiger Raoul whom the Sellners reported died of “quick pneumonia”

in the summer of 2013. (Ex. 3 at 0272). Raoul was born at the Cricket Hollow Zoo and died there

before he reached one year of age. In my experience, captive tigers typically live 15 to 23 years,

on average 20 years. Raoul died some 19 years before a properly cared for tiger in captivity

might be expected to die. Compare (Ex. 4 at 0337) (reporting Raoul’s date of birth as “8-12-12”)

with (Ex. 3 at 0272) (reporting Raoul’s date of death as “6-1-2013”).

         12.   Let me observe first that it is highly unusual for a captive big cat to die of

pneumonia. It is even more unusual for a captive big cat to die of pneumonia in the summertime.

Second, in all my years treating captive wildlife I have heard of “quick pneumonia” only as a

layman’s diagnosis in hoofstock. I have never heard of this in captive carnivores. Neither,

apparently, has the Sellners’ veterinarian, who told plaintiffs’ counsel that “quick pneumonia”

may be a “poor name for acute pneumonia.” (Ex. 7 at 0544 (Tr. J. Pries 128:15–20)). Even so, to

call it “acute pneumonia” identifies neither how the pneumonia originated nor explains how it

became so acute as to be inescapably fatal. Any animal who dies of respiratory illness within so

short a period of time has died because the caregiver has failed to observe the onset of illness.

Someone with sufficient veterinary or animal husbandry experience can observe respiratory

ailment symptoms like coughing, inappetance, high fever, rapid breathing, and probable



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discharge with enough time to save or at least attempt to save an animal. In my experience, when

an animal’s respiratory distress develops into potentially fatal pneumonia, it is only because the

animal has been compromised and sick for more time than the day that the disease becomes

apparent. In contrast, Ms. Sellner noticed that Raoul was sick only on the very same afternoon he

died, and had not noticed any symptoms of illness prior to that afternoon. (Ex. 7 at 0425 (Tr. P.

Sellner 155–157)). In my opinion, the failure to observe an animal’s decline until it is too late

harasses captive wildlife, creates a likelihood of injury to them, and is not a generally accepted

animal husbandry practice. It is indicative of a cavalier or indifferent treatment of animals and

which I find unacceptable.

       13.     In evaluating possible causes for Raoul’s death, I considered other causes for the

alleged pneumonia. By “quick pneumonia” Ms. Sellner might have had in mind “aspiration

pneumonia,” when an animal gets a foreign body in his or her lungs that leads to infection. There

are only two common ways Raoul might have developed aspiration pneumonia. One is that he

inhaled the vitamin powder into his lungs that the Sellners’ nutritionist, Dr. Pusillo, has

recommended they include in the big cats’ meat. If that were true, the Sellners’ took inadequate

care with implementing Dr. Pusillo’s regimen. The other way Raoul had a foreign body in his

lungs is that Raoul inhaled not just vitamin powder into his lungs, but food itself. He would do

that only if he were in an incredible hurry to eat his food, which would be true only if he were

either utterly starving or had been fed in the presence of other cats who he worried would take

his food from him. Assuming Raoul did develop aspiration pneumonia, it may have constituted a

virulent bacterial infection of the lungs, but not necessarily a fatal one.

       14.     Regardless of the form of pneumonia Raoul may or may not have had, to know

with certainty whether an animal has pneumonia requires a proper veterinary diagnosis, which



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includes use of laboratory tests and chest x-rays. The use of adequate and appropriate methods to

diagnose disease and injury is required by USDA regulation. Then, to treat an animal who

definitely has pneumonia, requires a proper veterinary prescription for antibiotics. Again, the use

of adequate and appropriate methods to treat disease and injury is required by USDA regulation.

The only way a caregiver might avoid an in-person veterinary diagnosis is when a specific

animal has a history of a specific ailment that has been chronic and repeatedly diagnosed.

Pneumonia is rarely such a disease, especially in an infant animal. In the case of chronic and

recurring disease, when the veterinarian has personal experience with the patient and the ailment,

a diagnosis can be made over the phone on the basis of properly described symptoms. Nothing in

the record indicates that the Sellners’ veterinarian used any of the appropriate diagnostic tools to

identify Raoul’s illness and to save his life. In actual fact, Ms. Sellner reports that on the

afternoon she noticed he was sick she “called up the Elkader Veterinary Clinic, and my volunteer

went up and got a bag of drugs that my vet prescribed to him, brought it back to save time, and

we administered them.” (Ex. 7 at 0425 (Tr. P. Sellner 155–156)). Since Raoul died even though

Ms. Sellner administered to Raoul “a bag of various drugs,” some of which were “injectables”

and one of which may have been oral, (Ex. 7 at 0425–0426 (Tr. P. Sellner 156–157)), it is

possible that he was improperly diagnosed. That the Sellners performed no necropsy on Raoul

means it is impossible to distinguish between an improper diagnosis, an improper treatment, or a

failure to identify the problem in time to make a difference. Without question this is industry

standard: anyone who manages animals must know of what those animals are dying. Even other

animals (non-zoo animals) who die on the property should be necropsied, like a skunk, who may

have had rabies and may infect others with it. In my opinion, the failure to secure a proper

veterinary diagnosis and the concomitant failure to ensure that the treatment regimen was



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appropriately prescribed and appropriately administered harasses captive wildlife, creates a

likelihood of injury to them, is not a generally accepted animal husbandry practice, and fails to

meet the minimum humane care and treatment standards. In my opinion, the unauthorized

practice of veterinary medicine likewise harasses captive wildlife, creates a likelihood of injury

to them, is not a generally accepted animal husbandry practice, and fails to meet the minimum

humane care and treatment standards.

        15.    There is no excuse for an animal to have died of a preventable illness. Neither is

there any excuse for an animal to have died of a treatable illness, which many forms of

pneumonia are. The use of adequate and appropriate methods to prevent disease and injury is

required by USDA regulation. In my opinion, the failure to have conducted a necropsy on Raoul

harasses captive wildlife, creates a likelihood of injury to them, is not a generally accepted

animal husbandry practice, and fails to meet the minimum humane care and treatment standards

since the Sellners cannot know how to prevent other cats from dying of whatever killed Raoul in

the future.

        16.    The defendants have indicated that their tiger Casper also died of pneumonia in

November, 2014. (Ex. 3 at 0272). Casper died at just ten years old, only half or at most two

thirds the expected age for a tiger in captivity. Compare (Ex. 4 at 0321) (reporting Casper’s date

of birth as “06-04”) with (Ex. 3 at 0272) (reporting Casper’s date of death as “11-2014”).

        17.    In her deposition, Ms. Sellner blames Casper’s having developed pneumonia on a

“cold snap,” adding that she found him “with his head down puffing with quick pneumonia.”

(Ex. 7 at 0428 (Tr. P. Sellner 168:4–7)). Again, in my professional experience there is no such

thing as “quick pneumonia,” so Casper may have developed aspiration pneumonia in either of

the two inexcusable ways that Raoul may (or may not) have. Given Ms. Sellner’s mention of the



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“cold snap,” however, it seems more likely that Casper developed ordinary pneumonia, and that

the Sellners did not notice until it became too late. As with Raoul, the Sellners’ veterinarian

never utilized the appropriate diagnostic methods necessary properly to diagnose pneumonia.

Instead, in all likelihood to save money (as the financials make clear), Ms. Sellner “called Dr.

Pries again” and on the basis of that phone call administered injectable medications to Casper

that failed to prevent his death. (Ex. 7 at 0428 (Tr. P. Sellner 168:6–10)). As with Raoul, the

failure to observe an animal’s decline until it is too late in my opinion harasses captive wildlife

and creates a likelihood of injury to them, and is not a generally accepted animal husbandry

practice. As with Raoul, the failure to secure a proper veterinary diagnosis and the concomitant

failure to ensure that the treatment regimen was appropriately prescribed and appropriately

administered in my opinion harms and harasses captive wildlife and creates a likelihood of injury

to them, and is not a generally accepted animal husbandry practice. As above, in my opinion the

unauthorized practice of veterinary medicine likewise harasses captive wildlife, creates a

likelihood of injury to them, is not a generally accepted animal husbandry practice, and fails to

meet the minimum humane care and treatment standards.

       18.     There is no reason that a big cat should develop pneumonia during winter months,

“cold snap” or no. As Dr. Pries rightly said, big cats “in Siberia, Northern India”, survive cold

winters in the wild. (Ex. 7 at 0544 (Tr. P. Sellner 126:3–9)). The defendants also acknowledge

that their big cats are “acclimated to outdoor temps.” (Ex. 3 at 0277). A common reason a big cat

might get sick in the cold is because he or she cannot find adequate shelter and has inadequate

body mass to insulate from the cold. This can be because of poor diet or other predisposing

illness. When a cat can get inside and remain warm, there is no reason for dying of a cold snap.

Either Casper’s den box was insufficiently warm, or there was something inside his den box—



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like accumulated feces or even a skunk—that rendered his den box inhospitable. The only other

explanation is that Casper was so thin that he could not insulate himself. Either way, in my

opinion the Sellners failed to provide sufficient shelter or sufficient nutrition, and in my opinion

this harasses captive wildlife, creates a likelihood of injury to them, is not a generally accepted

animal husbandry practice, and fails to meet the minimum humane care and treatment standards.

       19.     Casper is the same cat who apparently simultaneously had an open wound

measuring six square inches the inside of his left front leg. (Ex. 2 at 0262–0263). In my opinion

this is a large wound that required veterinary care, and the USDA agreed. (Ex. 2 at 0262–0263).

It should worry any veterinarian that Casper reportedly died of “pneumonia” or “quick

pneumonia” within a month of the USDA’s having cited the defendants for having given Casper

“no treatment,” and for having received “no treatment guidelines” from their attending

veterinarian. (Ex. 2 at 0262).Nowhere among the records I reviewed was there a diagnosis for

how Casper developed the lesion on his leg apart from an offhanded remark that he suffered

from “just rubs” and that he had been “licking” those rubs. (Ex. 7 at 0428) (Tr. P. Sellner 167:6–

14); see also (Ex. 4 at 0320) (a letter dated Oct. 8, 2014—some few weeks before Casper died—

in which Dr. Pries indicates to Ms. Sellner that he “look[ed]” at the lesion on Casper’s leg and

concluded it would be fine if the cat continued to lick it clean and Ms. Sellner administered

amoxicillin in ground meat). Ms. Sellner claims that the lesion on Casper’s leg “opened up the

day before” her inspection. (Ex. 7 at 0428 (Tr. P. Sellner 167:15–17)) (“I just happened to get

inspected that day.”). This apparent justification is entirely in keeping with her many attempts to

suggest that problems at her Zoo arise only on a given morning, with such surprising urgency

that she could neither have anticipated nor remedied them before she got in trouble. (Ex. 7 at

0391 (Tr. P. Sellner 18:6–14)) (“They came knowing that I [have a] dairy farm. They came—I



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just walked out of the door of my barn and I was going to head over to my zoo. I hadn't done any

chores yet. And they proceeded to do an inspection, and they just went all crazy and nothing was

done.”). In any event, the records do not indicate that Casper’s lesion was evaluated as a possible

cancer or other more serious medical condition instead of a “rub.” If the antibiotic regimen had

not healed his lesion, or had healed it only externally, then the “puffing” that Casper suffered

shortly before his death was unlikely to have been pneumonia. Antibiotics are the ordinary

treatment regimen for pneumonia, and yet Casper was already on antibiotics, suggesting that

Casper certainly did not have bacterial pneumonia even if he may have had viral pneumonia.

There is a chance that the wound on his leg was indeed a cancer and that the cancer had

metastasized to his lungs or liver and for this reason he was having difficulty breathing. There is

also a chance that the lesion and the “pugging” were completely unrelated, and the perceived

pneumonia was actually heart failure or canine distemper, a highly contagious and deadly disease

in big cats. In my opinion, the failure to properly diagnose Casper’s leg and his illness harassed

him, created a likelihood of injury to him, and is not a generally accepted animal husbandry

practice. As with Raoul, in my opinion the failure to have conducted a necropsy on Casper

harasses captive wildlife, creates a likelihood of injury to them, is not a generally accepted

animal husbandry practice, and fails to meet the minimum humane care and treatment standards,

since Casper may have had a communicable disease, and since the Sellners cannot know how to

prevent other cats from dying of the same thing that killed Casper.

       20.     As a third example, the defendants’ tiger Luna, who died reportedly of “e-coli” at

some indistinct time in 2014, possibly in November. (Ex. 3 at 0272); (Ex. 7 at 0430 (Tr. P.

Sellner 174:4–13)). Similar to Casper, Luna died at just eleven years old, roughly half the age




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expected for a properly cared for tiger in captivity. Compare (Ex. 4 at 0335) (reporting Luna’s

date of birth as “6-03”) with (Ex. 3 at 0272) (reporting Luna’s date of death as “2014”).

       21.     Ms. Sellner insists that she discussed Luna’s illness with her veterinarian, but as

with both Raoul and Casper, she did so only over the phone. “I don’t know if [Dr. Pries] came

out that day, but we did discuss it on the phone and he prescribed antibiotics, and I got the

antibiotics and that’s what we put her on.” (Ex. 7 at 0430 (Tr. P. Sellner 174:19–22)). In my

experience, if a captive big cat were to suffer from E. coli, enough to cause death, that would be

a very memorable diagnosis, since it is uncommon for a captive big cat to suffer from E. coli

unless it were in the case of a bladder infection. In that case the animal would be frequently

urinating blood. Moreover, without a culture, performed sterilely and by a veterinarian who

knew what samples to take, it is impossible to differentiate E.coli from other enteric pathogens,

like Salmonella spp. or Clostridium spp. or any number of other causes of death. Dr. Pries,

however, had little memory of Luna even having existed, let alone a memory regarding what

killed her. When plaintiffs’ counsel asked Dr. Pries whether he remembered Luna, he answered

only that “the name rings a bell.” (Ex. 7 at 0545 (Tr. J. Pries 130:17–19)). When plaintiffs’

counsel asked Dr. Pries if he remembered what had killed Luna, he answered “No.” (Ex. 7 at

0545 (Tr. J. Pries 130:20–21)). When plaintiffs’ counsel sought to refresh his memory by

reporting that Luna may have died of E. coli and then asked if that sounded familiar, he again

answered “No.” (Ex. 7 at 0545 (Tr. J. Pries 130:22–24)). Presumably for a bovine or small

animal veterinarian to treat a captive big cat would be a memorable experience, as would be a

diagnosis of E. coli leading to death. Since Dr. Pries remembers neither of these things, I

conclude that, simply put, Dr. Pries is not very engaged in the care of the captive wildlife at the

Cricket Hollow Zoo. Regardless, the USDA requires that food given to captive carnivores like



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Luna must be wholesome and free from contamination and must maintain an animal in good

health. In my opinion, providing food that is so contaminated with E. coli (or Salmonella or other

pathogens) that it actually kills an animal harasses captive wildlife, creates a likelihood of injury

to them, is not a generally accepted animal husbandry practice, and fails to meet the minimum

humane care and treatment standards.

       22.     These three distinct episodes clearly demonstrate a common theme in the

Sellners’ care of their big cats, all of which are contrary to proper animal care especially of

endangered species: (1) one of the Sellners notices that an animal has become visibly very sick;

(2) Ms. Sellner calls her veterinarian on the phone; (3) her veterinarian makes a diagnosis over

the phone, without examining the animal in person; (4) her veterinarian recommends a course of

treatment based on an incomplete evaluation and diagnosis, and supplies both “injectable” and

oral medications; (5) Ms. Sellner herself administers that course of treatment even if it

constitutes the unlicensed practice of veterinary medicine, (6) the animal dies despite the

administration of the recommended course of treatment; (7) no necropsy is performed. An

example of proper care would include these basic diagnostics: bloodwork, urinalysis,

radiographs and cultures. If my patient were off food for more than 24 hours—that is, were not

eating at all, or were eating significantly less and with less gusto than previously—I would go to

that facility and evaluate the animal. A tiger can die within 72 hours of going off food, so it is

imperative that a diagnosis be obtained immediately. If possible, I would place the animal in a

squeeze cage and draw blood and try to collect urine. I would also examine and perform a

microscopic evaluation of the feces in the hospital or by sending it to the lab. If I could not get

the bloodwork with the animal awake, I would anesthetize the animal, collect the samples needed

and get radiographs with ultrasounds and endoscopy available, in case I were to find a condition



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that required these diagnostic tools. While the animal was under, the animal would be receiving

fluids, both IV, for immediate rehydration and subcutaneously for slower absorption and longer

effect. The animal would then have vitamins and antibiotics administered accordingly. The

animal would be woken up in a transfer cage and not allowed into its enclosure until its health

was stable enough not to require further intervention. Even if another veterinarian were less

fastidious about the safety precautions I utilize, it is nonetheless industry standard to obtain

blood work on an animal for whom a caretaker or veterinarian suspects something is wrong,

since it is impossible to diagnose an animal correctly without such lab work.

       23.     It is alarming to me as a veterinarian that so many animals have died at the Zoo

and yet the owners almost never perform a necropsy, since a responsible owner or zookeeper and

veterinarian would always want to discover the cause of death precisely to learn how to keep all

the other animals alive. It is industry standard to necropsy dead animals, unless the cause of

death is otherwise obvious, for example the animal had history of treated cancer. By her own

admission, in all the years of operation dating back to 1986 Ms. Sellner has necropsied only two

animals: an infant lemur and a lynx. See www.crickethollowzoo.com (“We have been involved

with exotic animals since 1986. Starting with an old, ugly llama (that we were very, very proud

of) and then a 6 month old cougar.”); (Ex. 7 at 0434 (Tr. P. Sellner 189–190)). Ms. Sellner

reportedly does not trust Iowa State Ames to provide a proper diagnosis. (Ex. 7 at 0434 (Tr. P.

Sellner 190:5–15)). (“Q. You haven’t had any of your other animals [besides one lemur]

necropsied? A. A lynx .Q. But no other ones that are subject to this suit? A. No. Q. Why not? A.

I guess because I don't know if Ames really always knows what they’re looking at. I think that’s

probably the only lemur they’ve ever done. Q. So you’re not convinced they have the expertise.

A. I guess that’s true.”). Even if Ms. Sellner were right not to trust such a prestigious veterinary



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school, services exist, like Northwest ZooPath, a company that reads blood and tissue samples

provided by the veterinarian who performs the gross necropsy. These are board certified

pathologists who specialize in exotics and have been in existence for more than 20 years and

have seen many lemurs before. As I have said, it is impossible for a zookeeper to prevent the

spread of communicable disease, or to cure a treatable disease, if she does not know what is

killing her animals. Similarly, a responsible veterinarian would insist on necropsies, especially if

he observed a pattern of sudden deaths over time.

       24.     In my consideration of the veterinary services arrangement, I have also evaluated

how helpful it might be to these animals’ situation if they were to receive more direct veterinary

attention from Dr. Pries, the Sellners’ designated attending veterinarian. My conclusion is,

unfortunately, that it would be unlikely to be helpful. Dr. Pries does not have the specialized

training that someone treating big cats and other exotic animals like wolves and servals might be

expected to have. He would have to learn from apprenticeship, from continuing education and be

dedicated to this type of medicine. In my experience, veterinarians interested in exotics work will

shadow veterinarians at zoos once a week for at least a year as they develop their ability to treat

captive wildlife themselves. In other words, for Dr. Pries to be an effective captive wildlife

veterinarian he would really have to want that skill set, and he would have to approach his

treatment of captive wildlife as a serious endeavor rather that a novelty. In my opinion, the

failure to hire an appropriately experienced and qualified veterinarian harasses captive wildlife,

creates a likelihood of injury to them, is not a generally accepted animal husbandry practice, and

fails to meet the minimum humane care and treatment standards.

       25.     Although it was Dr. Pries who signed the Zoo’s Program of Veterinary Care, the

records are unclear as to whether he carries it out, or whether the Sellners even have an attending



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veterinarian at all. Plaintiffs’ Interrogatory No. 9 asked the defendants to list “every veterinarian”

who has provided care to their endangered animals. Defendants listed in their response only Dr.

Pries and his predecessor Dr. Kevin Esch as veterinarians. (Ex. 3 at 0279). However, Dr. Pries

admits that other veterinarians in his clinic work on the Sellners’ animals. See, e.g., (Ex. 7 at

0526 (Tr. Pries 41:14–21)) (“Q. You never treated that tiger? A. No, Brian did. I wasn’t in there

that day when he took those pictures.”). According to Dr. Pries, Pam Sellner “uses whoever she

wants to” for a veterinarian, whether at his clinic or “uptown.” (Ex. 7 at 0511 (Tr. Pries 155:13–

156:6)). Similarly, Dr. Pries has no memory of ever treating a lemur either at his clinic or down

at the Zoo. (Ex. 7 at 0541 (Tr. Pries 114:2–16)). And yet, according to the defendants’ records,

five lemurs died in as many years (between 2006 and 2011). (Ex. 3 at 0275). I can only conclude

that Dr. Pries is the attending veterinarian in name only. In my opinion, such an arrangement

violates the USDA’s requirement that an exhibitor must make sure that the attending veterinarian

has enough authority to ensure the provision of adequate veterinary care and to oversee that care.

In my opinion, for an exhibitor to fail to adhere to the USDA’s requirement that the attending

veterinarian have appropriate authority to ensure adequate veterinary care and other animal care

harasses captive wildlife, creates a likelihood of injury to them, is not a generally accepted

animal husbandry practice, and fails to meet the minimum humane care and treatment standards.

       26.     Even when Ms. Sellner does use Dr. Pries or his clinic, Dr. Pries does not keep

adequate records, which is contrary to good practice standards. Every time I treat a client’s

animal, my clients get copies of everything I have written and produced, including bloodwork, x-

rays, or any other lab work, in case the client has to go to another veterinarian. In this case, no

such records exist. I found no bloodwork, no lab work, no cultures, no diagnoses or treatment

protocols. I found only a single, three-page, unintelligible printout of itemized costs that cover



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the period April 23, 2007, through February 5, 2015. (Ex. 4 at 0290–0292). Frankly, I am quite

surprised and appalled that every veterinary treatment for a rotating set of 300 zoo animals

across eight years of treatment could fit on just three pages. Even putting aside the paucity of

those treatments, in my opinion, the failure to keep sufficient records so that the client may

ensure the animals’ proper care harasses captive wildlife, creates a likelihood of injury to them,

is not a generally accepted animal husbandry practice, and fails to meet the minimum humane

care and treatment standards.

       27.     As I have suggested, Dr. Pries does not appear to take seriously his role as

attending veterinarian for 300 wild animals, some of whom are endangered and threatened

species. Dr. Pries’ treatment protocols are extremely lacking in what the general standards are for

treatment of captive wildlife. For example, the defendants’ Program of Veterinary Care (PVC) is

apparently current only through 2009, even though Dr. Pries has signed it in the intervening

years. (Ex. 4 at 0293–0298). The USDA requires the attending veterinarian to discuss various

topics of the PVC with the exhibitor, including categories like “Pest Control and Safety,”

“Quarantine Procedures,” “Zoonoses,” “Environment Enhancement (Primates),” and “Species-

Specific Behavior.” (Ex. 4 at 0297). Dr. Pries checked each of the boxes indicating he had

discussed the aforementioned topic with Ms. Sellner but had little to say about them at

deposition. For example, when plaintiffs’ counsel asked Dr. Pries what he had discussed with

Ms. Sellner about environmental enhancement for primates, a USDA requirement, he said only

that “I guess it’s play time and what some toys are and . . .,” then trailed off insisting “That’s not

my role as veterinarian.” (Ex. 7 at 0539 (Tr. Pries 107:2–14)). In actual fact, USDA regulation

makes this precisely the attending veterinarian’s job. Dr. Pries likewise stated he could not

remember anything about species-specific behavior without having “the paper” in front of him.



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(Ex. 7 at 0539 (Tr. Pries 107:19–21)). This seems unusual to me since a bovine veterinarian

might remember discussing those exotic species he ordinarily does not treat, unless he had very

little to say about exotic species about which he knows too little.

         28.      Whatever Dr. Pries did or did not discuss with Ms. Sellner, the Program of

Veterinary Care he developed is worrisomely lacking. First, he does not include canine

distemper vaccines or other essential vaccines like FVRCP4 that should be administered to big

cats. (Ex. 4 at 0296–0297). Second, for carnivore vaccinations Dr. Pries writes only “rabies

vaccine if warranted.” (Ex. 4 at 0297). Common sense demonstrates, and my experience bears

out, that a rabies vaccination is always warranted among animals who have never had it, since

they might get it at any moment from rabies carriers like bats, raccoons, or skunks who might

enter their enclosures, especially in a state like Iowa where, according to the Iowa Department of

Public Health, animals are infected with rabies every year. The deworming protocol is similarly

lacking. Dr. Pries writes only “Panacur oral deworming.” (Ex. 4 at 0296). In actual fact, it is

industry standard that a captive wildlife veterinarian or owner should rotate between three

different deworming medicines so that quarterly or three times a year the animal gets a different

dewormer. In every place where I have worked, across multiple states, every facility has

followed this practice, and any deviation from this practice would be immediately recognized as

a mistake. According to the Zoo’s records chronicling the implementation of the PVC, all the

animals there receive the de-wormer Panacur in every instance of deworming. (Ex. 4 at 0313–

0315, 0321–0337). Moreover, even if Panacur could be used in isolation, Panacur is not a single-

dose drug; it must be administered three days in a row and then repeated in two weeks’ time


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  FVRCP is an industry standard 3-in-1 vaccine commonly called “feline distemper vaccine.” It consists of feline
rhinotracheitis virus (i.e. feline herpesvirus),calicivirus, and panleukopenia. The first two prevent respiratory illness;
the third prevents a highly infectious and sometimes fatal disease of the gastrointestinal tract, the immune system
and the nervous system.

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again three days in a row. The Zoo’s notes indicate only a one-time annual administration, and

include no annotations regarding multiple dosages. Regardless of the status of fecal examination,

it is important to deworm animals, especially young animals, who are eating a diet of raw meat.

Older animals have developed some immunity to worms over time, but younger animals have no

immunity to fight worms and at the same time are desperate for calories. Thus it does not appear

that the carnivores at the Zoo are receiving the proper deworming protocol. (Ex. 4 at 0313–0315,

0321–0337). In my opinion, the failure to set forth and adhere to an adequate PVC, including

sufficient preventive care like vaccination and deworming protocols, harasses captive wildlife,

creates a likelihood of injury to them, is not a generally accepted animal husbandry practice, and

fails to meet the minimum humane care and treatment standards.

       29.     I also evaluated the defendants’ more general animal husbandry practices based

on the record. Animal husbandry practices are relevant to veterinary concerns in that longevity

results not merely from thoughtful preventive medicine but also from proper diet, proper hygiene

to prevent disease and reinfestation of parasites, and adequate exercise and mental stimulation.

First, the state of hygiene at the Zoo does not satisfy the minimum requirements of humane care

and treatment standards—for example requiring the regular removal and disposal of animal

waste—and does not comport with generally accepted animal husbandry practices. For at least

the last several years, the big cat enclosures and the wolf enclosures have been rife with

accumulating feces. See, e.g., (Ex. 2 at 0061) (citing waste piled up near the lion, leopard, tiger,

and bear enclosures); (Ex. 1 at 0028) (citing an excessive accumulation of animal waste in two

tiger and two lion enclosures); (Ex. 1 at 0041) (citing a large accumulation of animal waste

within three of the tiger enclosures, two of the lion enclosures and the wolf enclosure); (Ex. 2 at

0248) (citing a build-up of old feces and food waste in the wolf enclosure); (Ex. 2 at 0256)



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(identical to previous); see also (Ex. 8 at 0652, 0676, 0677, 0679, 0680). Since most big

carnivores defecate only once or twice each day, the accumulation of anything beyond one or

two piles of feces indicates an unacceptable lapse in cleaning. The failure to manage fecal matter

properly makes an animal’s enclosure inhospitable, since any animal will naturally seek to avoid

his or her own waste. In small enclosures, like those at Cricket Hollow, this becomes difficult for

the animals. Accumulated feces is also a breeding ground for flies. It is unsurprising therefore

that flies are a routine problem at the Zoo. See, e.g. (Ex. 1 at 0021) (citing an excessive presence

of flies throughout facility and observing that the presence of flies increases disease risks and

fails to provide for the comfort of the animals.”); (Ex. 2 at 0093) (citing a large number of flies

in an enclosure containing two tigers observing that flies can transmit diseases to the animals and

contaminate the animal’s feed); (Ex. 1 at 0033) (citing a large number of flies throughout entire

facility and observing that flies are present within some of the animal enclosures and can be seen

landing on the animals, food, and animal waste); see also (Ex 8 at 0572) (photograph of lion with

biting flies). As the USDA has rightly indicated in its inspections, biting flies not only annoy and

harass captive animals but can also carry disease from animal to animal. In my opinion, the

failure to manage animal waste and flies harasses captive wildlife, creates a likelihood of injury

to them, is not a generally accepted animal husbandry practice, and fails to meet the minimum

humane care and treatment standards.

       30.     Many of the endangered animals at the Zoo are housed in enclosures for which

the substrate consists of an inexpensive material, pea gravel. (Ex. 9 at 0576–0579, 0648). Big

cats, wolves and servals in the wild would have grass and soil beneath their feet, not the broken

rocks that make up pea gravel. For use in animal husbandry, pea gravel is neither industry

standard nor desirable to the animals. It is industry standard in captive husbandry to provide



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elevated platforms over dirt substrate in which grass grows in the wet season. In contrast, the

Zoo’s tigers appear to lack elevated platforms, and have only rudimentary den boxes. (Ex. 8 at

0575, 0649). Pea gravel is really hard to clean: the use of pea gravel inevitably makes the

enclosure like one giant uncomfortable litter box, and yet it does not clump like regular litter.

When raking gravel, it is impossible to ensure that fecal matter, especially if an animal has had

diarrhea, comes off the gravel and is removed from the animal’s enclosure. Pea gravel is not a

preferable animal husbandry practice and is not conducive to proper animal hygiene nor animal

health and welfare. The USDA acknowledged this when it cited the defendants for deficiencies

in their housing of animals, observing that within the wolf enclosure “there is a build-up of old

feces and food waste mixed in with the dirt and gravel that makes up the floor of the enclosure.”

(Ex. 2 at 0247) (observing that the failure to properly clean and sanitize primary enclosures can

lead to disease hazards for the animals); (Ex. 2 at 0256) (identical to previous); see also (Ex. 8 at

0686) (photograph of old feces ground into pea gravel).

       31.     The USDA requires exhibitors to provide potable water as often as necessary to

provide for the health and comfort of the animals. The USDA has repeatedly cited the Zoo for

providing its animals dirty water in violation of this requirement. See, e.g., (Ex. 2 at 0098); (Ex.

8 at 0678, 0677). (observing that at least five enclosures housing six animals had dirty water

receptacles with a green color on the interior surface). Once again denying the accuracy and

relevancy of the finding, Ms. Sellner testified that she does not think green water is detrimental

to an animal. (Ex. 7 at 0449 (Tr. P. Sellner 239–240)). Even if green algae were not always

harmful to captive wildlife—and Ms. Sellner admits that it can be (Ex. 7 at 0449 (Tr. P. Sellner

240))—unclean water indicates a failure to provide reliably safe and clean drinking water on a

regular basis. The animals themselves may contaminate their water, by dropping their food into



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it, by standing in it, or by mistakenly transferring feces into it. See (Ex. 8 at 0677). Changing the

water regularly helps to prevent the spread of infectious disease that Ms. Sellner is rightfully

worried about, including diseases like giardia and other bacterial infections that may spread in

the water. In my opinion, the failure to supply fresh drinking water harasses captive wildlife,

creates a likelihood of injury to them, is not a generally accepted animal husbandry practice, and

fails to meet the minimum humane care and treatment standards.

       32.     Still other indicators suggest that animal husbandry is lacking at the Zoo. The

USDA has cited the defendants many times for cobwebs throughout their facility. See, e.g., (Ex.

2 at 0108) (observing that cobwebs with spiders are present throughout the entire facility); see

also (Ex. 2 at 0133–0134) (of red-ruffed lemur enclosure)). The presence of cobwebs suggests a

zoo staff that is either overworked or inattentive toward the hygiene of their facility. Ms. Sellner

has indicated that she thinks cobwebs are an insufficient reason to be cited. (Ex. 7 at 0390–0391

(Tr. P. Sellner 16–20)). The USDA has likewise cited the defendants for their failure to clean

“brown to black grime” from the walls of their facility. (Ex. 2 at 0249); see also (Ex. 2 at 0136–

0137) (“black to brown grime” on wall of baboon enclosure inside reptile house). Ms. Sellner

has belittled that characterization of her cleanliness. (Ex. 7 at 0391 (Tr. P. Sellner 17:8–13))

(“My animals are clean and dry and well bedded , and she [Dr. Heather Cole] sees a little grime

along the edge of something like this big [indicating an inch in size] or a spider web—a single

strand of spider web, I don’t think I should be written up for cobwebs.”).

       33.     The Zoo’s enrichment plan for big cats is lacking. For example, their plan has

mainly to do with food, yet the concept of “enrichment” is much broader than simply physical

survival. From a veterinary perspective, environmental enrichment addresses medical concerns

such as self-mutilation due to extreme boredom, stereotypical behaviors such as pacing and



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rubbing, or frustrations that might lead to teeth breaking behaviors like fence chewing. It is

widely known across the captives industry that big cats like to do other things beside eat: they

enjoy playing with balls, to bat around tires, to tear apart boxes, to run around in adequate space;

they likewise enjoy scents, like peppermint, or to be exposed to new smells when their cages are

reversed temporarily, and they can explore the smells of other cats in other spaces. Part of the

idea of behavioral and environmental enrichment is changing it up so the animals encounter new

items and new experiences. Although the Sellners indicate that the tigers have “bowling balls,

tires or large plastic drums”, (Ex. 3 at 0277), they do not appear to vary this paltry “enrichment”

or even, in some instances, to provide it at all. See (Ex. 8 at 0685–0686); (Ex. 8 at 0683); (Ex. 8

at 0583); (Ex. 8 at 0646); (Ex. 8 at 0645). In my opinion, the failure to adequately stimulate such

intelligent and complex animals harasses captive wildlife, creates a likelihood of injury to them,

and is not a generally accepted animal husbandry practice.

       34.     Ms. Sellner testified that she had one of the lions declawed because she had raised

the cat in her house. (Ex. 7 at 0423 (Tr. P. Sellner 146:5-8)). Like most owners of big cats such

as lions and tigers, Ms. Sellner apparently declawed her lion with the intention of making the

animal less dangerous to handle. Her case is typical of owners who are private collectors who are

trying to make a household pet out of a wild or exotic felid that is, by nature, not a suitable pet. It

is rare for public zoos to have declawed cats. Declawing is a surgical procedure, also called

onychectomy, in which the animal’s toes are amputated at the last joint. While some animals will

have immediate complications from the procedure, it may be many months or years before the

damaging effects of declawing become obvious. Declawing may result in permanent lameness,

arthritis, and other long-term complications. The stresses caused by the abnormal posture and

movement that result from declawing amputation may produce arthritis in the legs, which, in



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turn, may cripple the cat further and cause it more suffering. In addition, bone fragments may

contain remnants of nail-forming tissue that may continue to grow deep within the foot, causing

infection. In more severe and particularly heartbreaking cases, the mutilation from declaw

surgery may cause so much tenderness or pain that the animal can move only by walking on his

or her “elbows.” Whatever the physiological effects of declawing on a given animal, the

veterinary consensus surrounding the cruelty of declawing big cats was fortified by the American

Veterinary Medical Association’s (AVMA) condemning the declawing of these cats in 2013.

Indeed, the USDA’s Animal Care Program in August 2006 declared “declawing or the removal

of canine teeth (fangs) in wild or exotic carnivores . . . is no longer considered to be appropriate

veterinary care. . . These procedures are no longer considered to be acceptable when performed

solely for handling or husbandry purposes since they can cause considerable pain and discomfort

to the animal and may result in chronic health problems.” See USDA Animal and Plant Health

Inspection Service (APHIS) August 2006 Policy #3 Veterinary Care, Issue Date Aug. 18, 2006.

Accordingly, declawing is no longer allowed under the Animal Welfare Act. Id. In my opinion,

therefore, declawing harms and harasses a big cat, creates a likelihood of injury to them, is not a

generally accepted animal husbandry practice, and fails to meet the minimum humane care and

treatment standards.

       35.     The U.S. Fish & Wildlife Service (FWS) requires those who possess endangered

animals to register with the Service before breeding their endangered animals. Those hoping to

obtain a captive wildlife breeding registration must also have in place a specific plan for

breeding that promotes the survival of the species. Most registrants exhibit such a plan by

proving membership in a Taxon Advisory Group or Species Survival Plan (SSP) Program.

Additionally, a registrant must also demonstrate that their breeding will educate the public and



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promote conservation, either directly or because the registrant donates to entities like nonprofits

or wildlife refuges that promote conservation. In short, breeding captive endangered animals

merely so that the kittens or cubs will attract visitors does not qualify. The defendants have not

registered with FWS, belong to no Taxon Advisory Group, and have not contributed to any

entity that promotes conservation. Ms. Sellner testified that the only role FWS plays regarding

captive endangered animals is to issue permits for interstate or international commerce. (Ex. 7 at

0400–0402 (Tr. P. Sellner 56–62)). She admitted she had no familiarity with a Taxon Advisory

Group and was not a member of any SSP Plan for endangered animals. (Ex. 7 at 0422–0433 (Tr.

P. Sellner 144–145)). She likewise admitted that she does not donate to any conservation efforts.

(Ex. 7 at 0424 (Tr. P. Sellner 149:1-3)). Nonetheless, Ms. Sellner testified that she has bred

tigers, lemurs, and servals. (Ex. 7 at 0424 (Tr. P. Sellner 138–139)). She likewise testified that

she will breed her lemurs “if nature takes its course” and that she hopes to breed additional

tigers. (Ex. 7 at 0424 (Tr. P. Sellner 141:10-12)). The unregulated breeding of endangered

animals concerns me as a veterinarian because the surplus animals are traded to other

substandard facilities or ultimately end up in canned hunts or similar untoward fates. In my

opinion, the unregulated breeding of endangered animals harasses captive wildlife and creates a

likelihood of injury to them.

       36.     The USDA requires exhibitors to develop highly detailed contingency plans that

ensure the humane handling, treatment, transportation, housing, and care of their animals in the

event of an emergency or disaster. In my experience working with dozens of owners of captive

wildlife, invariably and at the very least the owners maintain nets, darting equipment, and a

relationship with an appropriately-matched veterinarian experienced with wildlife who knows

how to use darting equipment. Nets and darting equipment are necessary to proper wild animal



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care because waiting for externally supplied help often means the animal is farther away from its

enclosure and is gripped with increasing fear, making the animal harder to subdue with darts

because of the increased epinephrine the animal is experiencing. An owner can do at least

rudimentary emergency animal containment without much equipment if the keepers have had

drills and have practiced their emergency escape plan. In contrast to this, the defendants’ lack of

a meaningful emergency or contingency plan further confirms their inability to care for these

animals properly. In the case of an animal escape, the Zoo has indicated its intention to “destroy”

their large carnivores “as a safety measure.” (Ex. 4 at 0305). Similarly, the plan during a tornado

is to lock the tigers in their dens, and in the event of a missing animal to “call 911.” (Ex. 4 at

0305). Neither of these measures target preventing animal escapes, and protecting the animals

from being harmed or harming themselves or unsuspecting members of the public.

Unfortunately, as the 2011 Zanesville, Ohio debacle made all too clear, a sheriff can do little

more than to kill a wild animal but only at serious risk to himself and to the community. In my

opinion, the failure to provide adequately for emergencies is indicative of the inadequate respect

and overwhelming disregard demonstrated over and over again toward these animals, since it can

result in needless animal executions and considerable public safety threats, harasses captive

wildlife, creates a likelihood of injury to them, and is not a generally accepted animal husbandry

practice.

        37.     Having considered the records in this matter, I have concluded that the defendants

are harassing their captive wildlife and creating a likelihood of injury for them. Neither the

defendants’ veterinary care nor the defendants’ animal husbandry comport with generally

accepted practices and together account for the extraordinary number of animal illnesses and

fatalities at their facility. Given the severity of these deficiencies and the surprisingly cavalier



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manner in which the defendants insist that some animals in captivity are simply prone to dying,

the defendants are not well positioned to remedy their deficiencies. I must say that if that many

animals were dying and I were the attending veterinarian signing off on a Program of Veterinary

Care, I would be upset that I were not called more often, and I would contact the authorities for

their assistance and intervention.

       38.     I find extraordinary the blasé acceptance of animal illnesses and fatalities by both

the Sellners and Dr. Pries. It would be one thing if Ms. Sellner’s big cats and lemurs were dying

in their normal lifespan of 20 to 30 years, but many of these animals are dying either as babies or

infants or only halfway through their life expectancy. This being the case, I recommend these

animals at Cricket Hollow Zoo be immediately rehomed to someone capable of caring for them

properly.



       Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury that the preceding is true

and correct. I authorize electronic signature of this declaration and provide Plaintiffs’ counsel

with my original signature page.



                                                      /s/ Jennifer Conrad

                                                      Jennifer Conrad, D.V.M.


Dated: May 31, 2015




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                    ATTACHMENT A

                 CURRICULUM VITAE
              JENNIFER CONRAD, D.V.M.




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DR. JENNIFER CONRAD, D.V.M.
EDUCATION:
   UC Berkeley - BA in Biology, 1989
   UC Davis School of Veterinary Medicine - DVM, 1994
   Certification in Veterinary Medical Acupuncture (CVA) - 2012
   Certification in Canine Rehabilitation - estimated completion date, 2015
PROFESSIONAL MEMBERSHIPS:
   American Veterinary Medical Association
   American Association of Zoo Veterinarians
   European Association of Zoo and Wildlife Veterinarians
WORK EXPERIENCE:
   Small Animal Veterinary Practice - Associate Veterinarian, 1994-1997
   Los Angeles Zoo - Veterinarian, 1994-1998
   Santa Barbara Zoo - Veterinarian, 1999
   Wildlife Waystation, Tujunga, CA - Head Veterinarian, 1999-2003
   Paw Project - Head Veterinarian, 1999-present
   Solo Private Practice for captive wildlife and domestic animals, 1994-present
   Found Animals Foundation - Veterinary Director of Mobile Spay and Neuter Program, 2010
PUBLICATIONS AND PRESENTATIONS:
   "Deleterious Effects Of Onychectomy (Declawing) in Exotic Felids and a Reparative Surgical
     Technique: A Preliminary Report," Proceedings of the American Association of Zoo
     Veterinarians, 2002
   Presenter, Lewis and Clark College Animal Law Conference, 2003
   Lecturer, UCLA School of Law, Animal Law Program, 2003 and 2011
   Lecturer, Western University School of Veterinary Medicine, 2006 and 2014
   Lecturer, Kansas State University School of Veterinary Medicine, 2011
HONORS AND AWARDS:
   Wildlife Waystation Animal Advocate of the Year, 2002
   STAR Education Animal Advocate of the Year, 2003 and 2013
   Kitten Rescue Animal Advocate of the Year, 2009
   Humane Society Veterinary Medical Association (HSVMA) Veterinary Advocate of the Year,
    2012
   Stray Cat Alliance Animal Advocate of the Year, 2013
   Commendation for Animal Advocacy from City of Los Angeles, 2013
   Commendation for Animal Advocacy from City of West Hollywood, 2013
VETERINARY ADVOCACY AND CHARITABLE WORK:
   Cheetah Conservation Fund, Volunteer Veterinarian, Namibia, 1996
   Etosha National Park, Rhino Conservation program, Volunteer Veterinarian, Namibia, 1996
   Founder and Director, Paw Project, a nonprofit advocacy organization, 1999-present
   Cambodia Wildlife Sanctuary - Veterinary Medical Director, 2003-present
   Director and Writer, "The Paw Project," a documentary film, 2013



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